Case 7:20-cv-00437 Document 1-1 Filed on 12/29/20 in TXSD PagfSolOsd-37 PM

Hidalgo County District Clerks
Reviewed By: Armando Cantu

NOTICE: THIS DOCUMENT CONTAINS SENSITIVE DATA.

C-4054-20-H
O.

EVERTO A. VILLARREAL JR. § IN THE DISTRICT COURT
Plaintiff, §

§
¥. § JUDICIAL DISTRICT

§
WAL-MART INC.,, AS CORPORATION = §
OF WAL-MART INC. §

§
Defendant. § OF HIDALGO COUNTY, TEXAS

PLAINTIFF'S ORIGINAL PETITION
TO THE HONORABLE JUDGE OF SAID COURT:

NOW COMES EVERTO A. VILLARREAL JR., hereinafter called Plaintiff,
complaining of and about WAL-MART INC., as CORPORATION of WAL-MART INC.,
hereinafter called Defendant, and for cause of action would show unto the Court the following:

DISCOVERY CONTROL PLAN LEVEL
1. Plaintiff intends that discovery be conducted under Discovery Level 2.
PARTIES AND SERVICE

2. Plaintiff, EVERTO A. VILLARREAL JR., is an Individual whose address is 3617
Clubhouse Dr., Edinburg, Texas 78542,

3. EVERTO A. VILLARREAL JR. has been issued a driver’s license, the last three
numbers are 200, The last three numbers of EVERTO A. VILLARREAL JR.'s social security
number are 282.

4, Defendant WAL-MART INC., a Delaware corporation, and may be served by
serving its registered agent at CT Corporation System, 1999 Bryan St., Suite 900, Dallas, Texas

75201. Service of said Defendant as described above can be effected by certified mail, return

EXHIBIT

tabbies*
. . Electroni Filed
Case 7:20-cv-00437 Document 1-1 Filed on 12/29/20 in TXSD Pagpabehdeegy om

Hidalgo County District Clerks
Reviewed By: Armando Cantu

C-4054-20-H
receipt requested.
JURISDICTION AND VENUE
J. The subject matter in controversy is within the jurisdictional limits of this court.

6. Plaintiff seeks:

a, monetary relief over $100,000 but not more than $500,000.

De This court has jurisdiction over the parties because Defendant is a Texas resident.

8. Venue in HIDALGO County is proper in this cause under Section 15.002(a)(1) of
the Texas Civil Practice and Remedies Code because all or a substantial part of the events or
omissions giving rise to this lawsuit occurred in this county.

FACTS

9. At all times material hereto, WAL-MART INC. was the owner of the premises
located at 2812 South Expressway 281, Edinburg, TX 78542.

10. EVERTO A. VILLARREAL JR. entered upon said premises on or about
November 23, 2018 for the purpose of personal shopping. He entered on the said property of
Defendant at the invitation of Defendant to engage in the act of personal shopping.

11. During the time that EVERTO A. VILLARREAL JR. was upon Defendant's
property, EVERTO A. VILLARREAL JR. was seriously injured as a result of WAL-MART
INC’s agents, servants, and employees negligence in permitting the floor to become wet and
slippery, negligently or willfully allowing such condition to continue and negligently or willfully
failing to warn Plaintiff of the condition of the floor. This condition existed despite the fact that
WAL-MART INC. or Defendant’s agents knew or should have known of the existence of the
aforementioned condition and that there was likelihood of a person being injured as occurred to

Plaintiff.
. . Electronically Filed
Case 7:20-cv-00437 Document 1-1. Filed on 12/29/20 in TXSD  Pagpupoloe-a7 pM

Hidalgo County District Clerks
C-4054-20-H Reviewed By: Armando Cantu

12. EVERTO A. VILLARREAL JR.'s bodily injuries occurred as a direct result of a
fall that was proximately caused by the dangerous condition described above, which Defendant
knew or, in the exercise of ordinary care, should have known existed.

LIABILITY OF WAL-MART INC.

les At all times mentioned herein, WAL-MART INC. owned the property in
question, located at 2812 South Expressway 281, Edinburg, TX 78542.

14. At all times mentioned herein, WAL-MART INC. had such control over the
premises in question that WAL-MART INC. owed certain duties to Plaintiff, the breach of which
proximately caused the injuries set forth herein.

15. WAL-MART INC., Defendant's agents, servants, and employees negligently
permitted the floor to become wet and slippery, negligently or willfully allowed such condition
to continue and negligently or willfully failed to warn Plaintiff of the condition of the floor. This
condition existed despite the fact that WAL-MART INC. or Defendant's agents knew or should
have known of the existence of the aforementioned condition and that there was likelihood of a
person being injured as occurred to Plaintiff.

16. Furthermore, Plaintiff would show the court that the condition of the floor had
continued for such period that, had WAL-MART INC. or Defendant's agents exercised ordinary
care in the maintenance of the floor surface area, it would have been noticed and corrected by
such persons.

17. At all times pertinent herein, WAL-MART INC., and any of Defendant's agents,
who were acting in the scope of their employment, were guilty of negligent conduct toward the
Plaintiff in:

A, Failing to maintain the floor in a reasonably safe condition;
Case 7:20-cv-00437 Document 1-1 Filed on 12/29/20 in TXSD Pagisebesdoe3y PM

Hidalgo County District Clerks
C-4054-20-H Reviewed By: Armando Cantu

EB. Failing to give adequate and understandable warnings to Plaintiff of the
unsafe condition of the flooring area;

C, Failing to give warnings to Plaintiff of the unsafe condition;
D. Failing to remove the water causing the slip and fall; and
HE, Failing to discover and remove the water within a reasonable time.
PROXIMATE CAUSE
18. Each and every, all and singular of the foregoing acts and omissions, on the part

of Defendant, taken separately and/or collectively, constitute a direct and proximate cause of the
injuries and damages set forth below.
EXEMPLARY DAMAGES

19, WAL-MART INC.'s acts or omissions described above, when viewed from the
standpoint of WAL-MART INC. at the time of the act or omission, involved an extreme degree
of risk, considering the probability and magnitude of the potential harm to Plaintiff and others.
WAL-MART INC. had actual, subjective awareness of the risk involved in the above described
acts or omissions, but nevertheless proceeded with conscious indifference to the rights, safety, or
welfare of Plaintiff and others.

20. Based on the facts stated herein, Plaintiff requests exemplary damages be awarded
to Plaintiff from WAL-MART INC..

DAMAGES FOR PLAINTIFF, EVERTO A. VILLARREAL JR.

21. Asa direct and proximate result of the occurrence made the basis of this lawsuit,
and Defendant's acts as described herein, Plaintiff, EVERTO A. VILLARREAL JR. was caused
to suffer injuries, and to endure anxiety, pain, and illness resulting in damages more fully set
forth below.

22. Asa direct and proximate result of the occurrence made the basis of this lawsuit,
Case 7:20-cv-00437 Document 1-1 Filed on 12/29/20 in TXSD PdgesGoesde-g7 Pe

Hidalgo County District Clerks
Reviewed By: Armando Cantu

C-4054-20-H
Plaintiff, EVERTO A. VILLARREAL JR. has incurred the following damages:
A. Reasonable medical care and expenses in the past. These expenses were
incurred by Plaintiff, EVERTO A. VILLARREAL JR. for the necessary
care and treatment of the injuries resulting from the accident complained
of herein and such charges are reasonable and were usual and customary

charges for such services in HIDALGO County, Texas;

B. Reasonable and necessary medical care and expenses which will, in all
reasonable probability, be incurred in the future;

C, Physical pain and suffering in the past; and
D. Cost of medical monitoring and prevention in the future.

23. By reason of the above, Plaintiff, EVERTO A. VILLARREAL JR. has suffered
losses and damages in a sum within the jurisdictional limits of the Court and for which this
lawsuit is brought.

PRAYER

WHEREFORE, PREMISES CONSIDERED, Plaintiff, EVERTO A. VILLARREAL
JR., respectfully prays that the Defendant be cited to appear and answer herein, and that upon a
final hearing of the cause, judgment be entered for the Plaintiff against Defendant for damages in
an amount within the jurisdictional limits of the Court; exemplary damages, excluding interest,
and as allowed by Sec. 41.008, Chapter 41, Texas Civil Practice and Remedies Code; together
with pre-judgment interest (from the date of injury through the date of judgment) at the
maximum rate allowed by law; post-judgment interest at the legal rate, costs of court; and such

other and further relief to which the Plaintiff may be entitled at law or in equity.

Respectfully submitted,
Case 7:20-cv-00437 Document 1-1 Filed on 12/29/20 in TXSD  Paapsdoosd>-57 pm

Hidalgo County District Clerks
C-4054-20-H Reviewed By: Armando Cantu

By: //E. A. Villarreal Jr.
E. A. VILLARREAL JR., PRO SE
Texas Bar No. 250
Email: attorneybetovillarreal@yahoo.com
3617 Clubhouse Dr.
Edinburg, Texas 78542
Tel. (956) 330-6465
Fax. (956) 383-6995
Attorney for Plaintiff
EVERTO A. VILLARREAL JR.

PLAINTIFF HEREBY DEMANDS TRIAL BY JURY
